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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 CENTER FOR BIOLOGICAL DIVERSITY,
 AMERICAN     BIRD    CONSERVANCY,
 SURFRIDER FOUNDATION, SAVE RGV, and
 THE CARRIZO/COMECRUDO NATION OF
 TEXAS, INC.,
                                                         Civil Action No. 1:23-cv-1204-CJN
                              Plaintiffs,
                                                         [PROPOSED] ANSWER TO
      v.                                                 PLAINTIFFS’ COMPLAINT BY
                                                         PROPOSED INTERVENOR-
 FEDERAL AVIATION ADMINISTRATION and                     DEFENDANT SPACE
 BILLY NOLEN, in his official capacity;                  EXPLORATION TECHNOLOGIES
                                                         CORPORATION
                              Defendants,

      and

 SPACE EXPLORATION TECHNOLOGIES
 CORPORATION,

             Proposed Intervenor-Defendant.



       For its Answer to Plaintiffs’ Complaint, Proposed Intervenor-Defendant Space Exploration

Technologies, Corporation (“SpaceX”) states as follows:

                                            INTRODUCTION

       1.      The allegations in Paragraph 1 constitute Plaintiffs’ characterization of their case,

to which no response is required. To the extent a response is required, SpaceX denies the

allegations in Paragraph 1.

       2.      SpaceX denies the allegations in Paragraph 2.

       3.      The allegations in Paragraph 3 purport to characterize a “Final Programmatic

Environmental Assessment” (“PEA”), “Finding of No Significant Impact/Record of Decision”




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(“FONSI/ROD”), and a “Commercial Space Transportation License” (“License”), which speak for

themselves and therefore no response is required.

       4.      SpaceX admits that Super Heavy is a powerful rocket that uses liquid methane for

propulsion, and that launching rockets causes heat, noise, and light, but denies the remaining

allegations in Paragraph 4.

       5.      SpaceX admits that, on April 20, 2023, it conducted a test launch of Starship/Super

Heavy in accordance with the License issued by the Federal Aviation Administration (“FAA”),

and that the launch vehicle successfully lifted off and flew for several minutes before experiencing

anomalies that resulted in the termination of the mission and safe destruction of the launch vehicle

over the Gulf of Mexico. SpaceX admits that the concrete launch pad deck was damaged during

the liftoff, spreading some debris and dust. The FAA is currently evaluating data related to this

launch. SpaceX further admits that the FONSI/ROD has not been withdrawn or modified, and that

SpaceX is working toward another launch of Starship/Super Heavy. SpaceX denies the remaining

allegations in Paragraph 5.

        6.     SpaceX denies the allegation that the ocelot occupies the area surrounding the Boca

Chica launch site. SpaceX admits that publicly owned conservation, park, and recreation lands are

in the Boca Chica area. SpaceX lacks knowledge or information sufficient to form a belief about

the truth of the remaining allegations in Paragraph 6 and denies the same on that basis.

       7.      SpaceX denies the allegations in Paragraph 7 regarding the effects of SpaceX’s

activities to the extent that the alleged effects differ from the effects discussed in the PEA prepared

by the FAA. The final sentence of paragraph 7 purports to characterize a finding of the U.S. Fish

and Wildlife Service, which speaks for itself and therefore no response is required. To the extent

a response is required, SpaceX denies this allegation.



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       8.       SpaceX denies the allegations in Paragraph 8.

       9.       SpaceX denies the allegation in Paragraph 9 that the FAA delegated decision-

making under the National Environmental Policy Act (“NEPA”) to SpaceX. The remaining

allegations in Paragraph 9 constitute legal conclusions and/or purport to characterize documents

associated with review under NEPA, which speak for themselves and therefore no response is

required.

       10.      SpaceX denies the allegations in Paragraph 10.

       11.      SpaceX denies the allegations in Paragraph 11.

       12.      SpaceX denies the allegations in Paragraph 12.

       13.      SpaceX denies the allegations in Paragraph 13.

       14.      SpaceX denies the allegations in Paragraph 14.

                                JURISDICTION AND VENUE

       15.      The allegations in Paragraph 15 state legal conclusions, which require no response.

       16.      The allegations in Paragraph 16 state legal conclusions, which require no response.

                                            PARTIES

                                            Plaintiffs

       17.      SpaceX lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 17 and denies the same on that basis.

       18.      SpaceX lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 18 and denies the same on that basis.

       19.      SpaceX lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 19 and denies the same on that basis.

       20.      SpaceX lacks knowledge or information sufficient to form a belief as to the truth of




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the allegations in Paragraph 20 and denies the same on that basis.

       21.     SpaceX lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 21 and denies the same on that basis.

       22.     SpaceX denies the allegations in the last sentence of Paragraph 22. SpaceX lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 22 and denies the same on that basis.

       23.     SpaceX lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 23 and denies the same on that basis.

       24.     SpaceX lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 24 and denies the same on that basis.

       25.     SpaceX denies the allegation in Paragraph 25 that “species [] are imperiled by

SpaceX activities.” SpaceX lacks knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 25 and denies the same on that basis.

       26.     SpaceX lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 26 and denies the same on that basis.

       27.     SpaceX lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 27 and denies the same on that basis.

       28.     SpaceX lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 28 and denies the same on that basis.

       29.     SpaceX lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 29 and denies the same on that basis.

       30.     SpaceX lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 30 and denies the same on that basis.




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       31.     SpaceX denies the allegations in the first and second sentences of Paragraph 31.

SpaceX lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 31 and denies the same on that basis.

       32.     SpaceX denies the allegations in the last sentence of Paragraph 32. SpaceX lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 32 and denies the same on that basis.

       33.     SpaceX lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 33 and denies the same on that basis.

       34.     SpaceX denies the allegations in Paragraph 34.

       35.     SpaceX denies the allegations in Paragraph 35.

                                            Defendants

       36.     SpaceX admits the allegations in the first and second sentences of Paragraph 36.

The allegations in the third sentence of Paragraph 36 constitute legal conclusions to which no

response is required.

       37.     SpaceX admits the allegations in the first sentence of Paragraph 37. The allegations

in the second sentence of Paragraph 37 constitute Plaintiffs’ characterization of their case, to which

no response is required. The allegations in the third sentence of Paragraph 37 constitute legal

conclusions to which no response is required.

                                   LEGAL BACKGROUND

                          The National Environmental Policy Act

       38.     The allegations in Paragraph 38 constitute legal conclusions and purport to

characterize legal authorities that speak for themselves, and therefore no response is required.

       39.     The allegations in Paragraph 39 constitute legal conclusions and purport to




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characterize legal authorities that speak for themselves, and therefore no response is required.

       40.     The allegations in Paragraph 40 constitute legal conclusions and purport to

characterize legal authorities that speak for themselves, and therefore no response is required.

       41.     The allegations in Paragraph 41 constitute legal conclusions and purport to

characterize legal authorities that speak for themselves, and therefore no response is required.

       42.     The allegations in Paragraph 42 constitute legal conclusions and purport to

characterize legal authorities that speak for themselves, and therefore no response is required.

       43.     The allegations in Paragraph 43 constitute legal conclusions and purport to

characterize legal authorities that speak for themselves, and therefore no response is required.

       44.     The allegations in Paragraph 44 constitute legal conclusions and purport to

characterize legal authorities that speak for themselves, and therefore no response is required.

       45.     The allegations in Paragraph 45 constitute legal conclusions and purport to

characterize legal authorities that speak for themselves, and therefore no response is required.

       46.     The allegations in Paragraph 46 constitute legal conclusions and purport to

characterize legal authorities that speak for themselves, and therefore no response is required.

       47.     The allegations in Paragraph 47 constitute legal conclusions and purport to

characterize legal authorities that speak for themselves, and therefore no response is required.

       48.     The allegations in Paragraph 48 constitute legal conclusions and purport to

characterize legal authorities that speak for themselves, and therefore no response is required.

       49.     The allegations in Paragraph 49 constitute legal conclusions and purport to

characterize legal authorities that speak for themselves, and therefore no response is required.

       50.     The allegations in Paragraph 50 constitute legal conclusions and purport to

characterize legal authorities that speak for themselves, and therefore no response is required.




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                             The Administrative Procedure Act

       51.     The allegations in Paragraph 51 constitute legal conclusions and purport to

characterize legal authorities that speak for themselves, and therefore no response is required.

       52.     The allegations in Paragraph 52 constitute legal conclusions and purport to

characterize legal authorities that speak for themselves, and therefore no response is required.

                                  FACTUAL BACKGROUND

                                     The Boca Chica Area

       53.     SpaceX admits that publicly owned lands are in the Boca Chica area. SpaceX lacks

knowledge or information sufficient to form a belief about the truth of the remaining allegations

in Paragraph 53 and denies them on that basis.

       54.     SpaceX admits that the Lower Rio Grande Valley National Wildlife Refuge is near

to the Boca Chica launch site. SpaceX lacks knowledge or information sufficient to form a belief

about the truth of the remaining allegations in Paragraph 54 and denies them on that basis.

       55.     SpaceX admits that the Boca Chica tract of the Lower Rio Grande Valley National

Wildlife Refuge provides habitat for migratory birds and has been used by Kemp’s Ridley sea

turtles. SpaceX lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 55 and denies them on that basis.

       56.     SpaceX admits the allegation in Paragraph 56 that the U.S. Fish and Wildlife

Service has designated some land in the Boca Chica area as critical habitat for piping plover.

SpaceX denies the allegations that the referenced species “rely on” the area surrounding the Boca

Chica launch site but aver that the referenced species other than the Gulf Coast jaguarundi and

ocelots may use this area. SpaceX lacks knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in Paragraph 56 and denies them on that basis.




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       57.     SpaceX lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 57 and denies the same on that basis.

       58.     SpaceX admits that Boca Chica State Park and Beach is a public beach on an

approximately 8-mile stretch of the South Texas coast that offers recreational opportunities.

SpaceX lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 58 and denies them on that basis.

       59.     SpaceX admits that the Laguna Atascosa National Wildlife Refuge is a wildlife

refuge that provides wildlife habitat. SpaceX denies the allegation that this refuge is nearby the

Boca Chica launch site. SpaceX lacks knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in Paragraph 59 and denies the same on that basis.

                     The Environmental Impacts of the SpaceX Launch Program

       60.     The allegations in Paragraph 60 purport to characterize the FONSI/ROD, which

speak for themselves and therefore no response is required.

       61.     SpaceX admits that Super Heavy is a powerful rocket that uses liquid methane for

propulsion but denies the remaining allegations in Paragraph 61.

       62.     SpaceX denies the allegations in Paragraph 62 regarding the effects of SpaceX’s

activities to the extent that the alleged effects differ from the effects discussed in the PEA prepared

by the FAA.

       63.     SpaceX admits that it has operated a rocket launch program at Boca Chica since

2014 under a permit issued by the FAA. SpaceX denies the remaining allegations in Paragraph 63.

       64.     SpaceX admits the allegations in Paragraph 64 that, on April 20, 2023, it conducted

a test launch of Starship/Super Heavy in accordance with the License, and that the launch vehicle

successfully lifted off and flew for several minutes before experiencing anomalies that resulted in




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the termination of the mission and safe destruction of the rocket over the Gulf of Mexico. SpaceX

admits that the concrete launch pad deck was damaged during the liftoff, spreading some debris

and dust. The FAA is currently evaluating data related to this launch. SpaceX denies the remaining

allegations in Paragraph 64.

        65.    SpaceX denies the allegations in the first sentence of Paragraph 65. The remaining

allegations purport to characterize the PEA, which speaks for itself and therefore no response is

required. To the extent a response is required, SpaceX denies the allegations in Paragraph 65

regarding the effects of SpaceX’s activities to the extent that the alleged effects differ from the

effects discussed in the PEA prepared by the FAA.

        66.    SpaceX admits the that that early developmental testing activities resulted in fires

and some “scattered debris,” none of which had a significant impact. SpaceX denies the other

allegations in Paragraph 66.

        67.    SpaceX admits the allegations in Paragraph 67 that retrieving debris can impact

land, as discussed in the PEA prepared by the FAA. SpaceX denies allegations inconsistent with

that discussion and avers that impacts from debris retrieval have been insignificant.

        68.    The allegations in Paragraph 68 purport to characterize a finding of the U.S. Fish

and Wildlife Service, which speaks for itself and therefore no response is required. To the extent

a response is required, SpaceX denies these allegations.

        69.    SpaceX denies the allegations in Paragraph 69 regarding the effects of SpaceX’s

activities.

        70.    SpaceX denies the allegations in the first and third sentences of Paragraph 70. The

remaining allegations purport to characterize the PEA, which speaks for itself and therefore no

response is required. To the extent a response is required, SpaceX denies these allegations.




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        71.    The allegations in Paragraph 71 purport to characterize the PEA, which speaks for

itself and therefore no response is required.

        72.    SpaceX denies the allegations in the first sentence of Paragraph 72. The remaining

allegations purport to characterize the referenced notices, which speak for themselves and

therefore no response is required.

        73.    SpaceX admits that Boca Chica State Park and Beach is a public beach on an

approximately 8-mile stretch of the South Texas coast but denies the other allegations in the first

and third sentences of Paragraph 73 regarding the effects of SpaceX’s activities to the extent that

the alleged effects differ from the effects discussed in the PEA prepared by the FAA. The

allegations in the second sentence of Paragraph 73 constitute legal conclusions to which no

response is required.

                            FAA’s Review of the SpaceX Launch Program

        74.     The allegations in Paragraph 74 constitute legal conclusions to which no response

is required.

        75.    The allegations in the first sentence of Paragraph 75 purport to characterize an

Environmental Impact Statement and permit, which speak for themselves and therefore no

response is required. SpaceX admits that SpaceX sought the FAA’s approval to launch

Starship/Super Heavy from the Boca Chica launch site and SpaceX proposed to make certain

improvements to the launch site.

        76.    The allegations in the first sentence of Paragraph 76 purport to characterize an

email, which speaks for itself and therefore no response is required. SpaceX denies the allegation

in the second sentence of Paragraph 76.

        77.    SpaceX admits the allegations in Paragraph 77.




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       78.     The allegations in Paragraph 78 purport to characterize comment letters, which

speak for themselves and therefore no response is required.

       79.     The allegations in Paragraph 79 purport to characterize the PEA and FONSI/ROD,

which speak for themselves and therefore no response is required.

       80.     The allegations in the first sentence of Paragraph 80 constitute legal conclusions,

which speak for themselves and therefore no response is required. To the extent a response is

required, SpaceX denies the allegations. SpaceX denies the remaining allegations in Paragraph 80.

       81.     SpaceX denies the allegations in Paragraph 81.

       82.     SpaceX denies the allegations in Paragraph 82.

       83.     The allegations in Paragraph 83 purport to characterize the PEA, which speaks for

itself and therefore no response is required.

       84.     The allegations in Paragraph 84 purport to characterize the PEA, which speaks for

itself and therefore no response is required.

       85.     The allegations in Paragraph 85 purport to characterize the PEA, which speaks for

itself and therefore no response is required. SpaceX denies the allegation that it suggested Kennedy

Space Center as a site alternative.

       86.     The allegations in the first two sentences of Paragraph 86 purport to characterize

the PEA, which speaks for itself and therefore no response is required. SpaceX denies the

remaining allegations in Paragraph 86.

       87.     SpaceX denies the allegations in Paragraph 87.

       88.     The allegations in Paragraph 88 purport to characterize the PEA, which speaks for

itself and therefore no response is required. SpaceX admits that the concrete launch pad deck was

damaged during the liftoff, spreading debris and dust. The FAA is currently evaluating data related




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to this launch. To the extent a response is required, SpaceX denies all remaining allegations.

       89.     The allegations in Paragraph 89 purport to characterize the PEA, which speaks for

itself and therefore no response is required. To the extent a response is required, SpaceX denies

the allegations.

       90.     SpaceX admits the allegations in the second and third sentences of Paragraph 90

that commodity gasses and liquids are kept at the Boca Chica launch site but denies that there is

any significant impact or risk from storing them there. SpaceX lacks knowledge or information

sufficient to form a belief about the truth of the remaining allegations in the fourth sentence of

Paragraph 90 and denies the same on that basis. The remaining allegations in Paragraph 90 purport

to characterize the PEA and a map, which speak for themselves and therefore no response is

required. To the extent a response is required, SpaceX denies the allegations.

       91.     The allegations in Paragraph 91 purport to characterize the PEA, which speaks for

itself and therefore no response is required. To the extent a response is required, SpaceX denies

the allegations.

       92.     SpaceX denies the allegation that the only way to access Boca Chica Beach is Texas

State Highway 4. The remaining allegations in Paragraph 92 purport to characterize the PEA,

which speaks for itself and therefore no response is required. To the extent a response is required,

SpaceX denies the allegations.

       93.     SpaceX admits that the FAA issued SpaceX the License on April 14, 2023. SpaceX

further admits that it is working toward another launch of Starship/Super Heavy. SpaceX denies

the remaining allegations in Paragraph 93.

       94.     The allegations in the first sentence of Paragraph 94 purport to characterize the

Written Re-evaluation of the Final PEA, which speaks for itself and therefore no response is




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required. The remaining allegations in Paragraph 94 constitute legal conclusions to which no

response is required.

                                  FIRST CLAIM FOR RELIEF

        95.      Responses to Paragraphs 1-94 are incorporated by reference.

        96.      The allegations in Paragraph 96 constitute legal conclusions and purport to

characterize legal authorities and NEPA documents that speak for themselves and therefore no

response is required.

        97.      SpaceX denies the allegations in Paragraph 97.

        98.      SpaceX denies the allegations in Paragraph 98.

        99.      SpaceX denies the allegations in Paragraph 99.

        100.     SpaceX denies the allegations in Paragraph 100.

        101.     SpaceX denies the allegations in Paragraph 101.

        102.     SpaceX denies the allegations in Paragraph 102.

        103.     SpaceX denies the allegations in Paragraph 103.

                                    PRAYER FOR RELIEF

        104.     The remainder of Plaintiffs’ Complaint consists of the Prayer for Relief, which

requires no response. To the extent a response is required, SpaceX denies that Plaintiffs are entitled

to any relief.

                                       GENERAL DENIAL

        105.     SpaceX denies every allegation of Plaintiffs’ Complaint not otherwise expressly

admitted, qualified, or denied.

                                  AFFIRMATIVE DEFENSES

        Pursuant to Fed. R. Civ. P. 8(c) and 12(b), SpaceX sets forth the following defenses.




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       106.    Plaintiffs have failed to state a claim upon which relief may be granted.

       107.    Plaintiffs are barred from presenting some or all of their claim by waiver or failure

to exhaust administrative remedies.

       108.    Plaintiffs’ claim is barred in whole or in part under the doctrine of laches.

       109.    Plaintiffs have failed to establish standing.

       110.    SpaceX may have other and additional affirmative defenses about which it may be

currently unaware and reserves the right to assert such affirmative defenses.

       For the foregoing reasons, SpaceX respectfully requests that that the Court deny Plaintiffs’

requests for relief, dismiss the Complaint with prejudice, enter judgment for SpaceX and Federal

Defendants, and grant such other relief as may be appropriate.



Dated: June 30, 2023


                                              Respectfully submitted,

                                              /s/ Tyler G. Welti
                                              Tyler G. Welti (D.C. Bar No. 1015691)
                                              VENABLE LLP
                                              101 California Street, Suite 3800
                                              San Francisco, CA 94111
                                              tgwelti@venable.com
                                              Phone: 415-653-3714
                                              Fax: 415-653-3755

                                              Kathryn K. Floyd (D.C. Bar No. 411027)
                                              VENABLE LLP
                                              600 Massachusetts Ave., N.W.
                                              Washington, DC 20001
                                              kkfloyd@venable.com
                                              Phone: 202-344-4000
                                              Fax: 202-344-8300

                                              Counsel for Proposed Intervenor-Defendant
                                              Space Exploration Technologies Corp.



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